           Case 2:16-cv-01919-RAJ Document 56 Filed 03/11/19 Page 1 of 5



 1                                                                     Hon. Richard A. Jones

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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8

 9   ANCORA TECHNOLOGIES, INC.,
                                                     Case No. C16-1919RAJ
10                           Plaintiff,

11           v.                                      ORDER SETTING
                                                     PATENT CASE SCHEDULE
12   HTC AMERICA, INC., et al.,

13                           Defendants.

14        Having considered the parties’ Joint Status Report (Dkt. #52), the Court enters the
15   following case schedule:
16                      EVENT                                           DATE
17   Deadline to Join Additional Parties              March 26, 2019
18   Plaintiff to serve Preliminary Infringement
     Contentions and Disclosure of Asserted           March 26, 2019
19   Claims
20   Defendant to serve Preliminary Non-
     Infringement and Invalidity Contentions and      April 25, 2019
21   accompanying Document Production
22   Parties to exchange Proposed Terms and
                                                      May 15, 2019
     Claim Elements for Construction
23

24   Parties to exchange Preliminary Claim
                                                      June 14, 2019
     Constructions and Extrinsic Evidence
25
     Parties to file Joint Claim Chart and
26                                                    July 29, 2019
     Prehearing Statement


     ORDER SETTING
     PATENT CASE SCHEDULE – 1
             Case 2:16-cv-01919-RAJ Document 56 Filed 03/11/19 Page 2 of 5



 1
                           EVENT                                            DATE
 2
     Completion of Claim Construction Discovery           September 17, 2019
 3   Parties to file Opening Claim Construction
                                                          September 23, 2019
 4   Briefs
     Parties to file Responsive Claim Construction
 5                                                        October 7, 2019
     Briefs
 6
     Tutorial (if necessary)                              To be set by the Court
 7
     Claim Construction Hearing                           To be set by the Court
 8
     Reliance on Opinion of Counsel                       30 days after Claim Construction Order
 9
     Close of Fact Discovery                              60 days after Claim Construction Order
10
     Parties to Exchange Initial Expert Reports           90 days after Claim Construction Order
11
     Parties to Exchange Rebuttal Expert Reports          120 days after Claim Construction Order
12

13   Close of Expert Discovery                            150 days after Claim Construction Order
     Parties to File Case Dispositive Motions
14                                                        180 days after Claim Construction Order
     and/or Daubert Motions
15
     Pretrial Conference                                  To be set by the Court
16
     Trial                                                To be set by the Court
17

18             These dates are set at the direction of the Court after reviewing the Joint Status
19   Report submitted by the parties. All other dates are specified in the Local Civil Rules
     and/or Local Patent Rules. These are firm dates that can be changed only by order of
20
     the Court, not by agreement of counsel or the parties. The Court will alter these dates
21
     only upon good cause shown.
22

23                  ALTERATIONS TO ELECTRONIC FILING PROCEDURES
24           Counsel are required to electronically file all documents with the Court. Pro se
25   litigants may file either electronically or in paper form. Information and procedures for

26   electronic filing can be found on the Western District of Washington’s website at
     www.wawd.uscourts.gov/ElectronicFiling/ECFHomepage.htm.

     ORDER SETTING
     PATENT CASE SCHEDULE – 2
           Case 2:16-cv-01919-RAJ Document 56 Filed 03/11/19 Page 3 of 5



 1         The following alterations to the Filing Procedures apply in all cases pending before
 2   Judge Jones:

 3         1.      Mandatory chambers copies are required for all e-filed motions, responses,
     replies, and surreplies, and all supporting documentation relating to motions,
 4
     regardless of page length.
 5
           The paper copy of the documents (with tabs or other organizing aids as necessary)
 6   shall be delivered to the Clerk’s Office by 12:00 p.m. on the business day after filing. The
 7   chambers copy must be clearly marked with the words “Courtesy Copy of Electronic Filing
 8   for Chambers.” The parties are required to print all courtesy copies from CM/ECF using

 9   the “Include headers when displaying PDF documents” feature under “Document Options.”
     This requirement applies also to pleadings filed under seal.
10
           2.      Searchable PDFs: All documents filed electronically must be submitted in PDF
11
     format to permit text searches and to facilitate transmission and retrieval. Before these
12
     documents are electronically filed, the CM/ECF User shall convert the documents to PDF
13   format. These documents may not be scanned.
14

15                                              EXHIBITS
                The original and one copy of any exhibits to be used at any claim construction
16
     hearing or trial are to be delivered to chambers no later than 4:00 p.m. three days before the
17
     hearing or trial. Each exhibit shall be clearly marked. Exhibit tags are available in the
18
     Clerk’s Office. The Court hereby sets forth the following procedure for numbering
19   exhibits: Plaintiff’s exhibits shall be numbered consecutively beginning with 1.
20   Defendant’s exhibits shall be numbered consecutively after Plaintiff’s exhibits using the
21   next number sequence not used by Plaintiff (e.g., if Plaintiff has marked 150 exhibits,

22   Defendant shall mark its exhibits beginning with 200) . Duplicate documents shall not be
     listed twice. Once a party has identified an exhibit, any party may use it. Each set of
23
     exhibits shall be submitted in a three-ring binder with appropriately numbered tabs.
24
     ///
25   ///
26   ///


     ORDER SETTING
     PATENT CASE SCHEDULE – 3
           Case 2:16-cv-01919-RAJ Document 56 Filed 03/11/19 Page 4 of 5



 1                                         SETTLEMENT
 2           Should this case settle, counsel shall notify Victoria Ericksen as soon as possible at

 3   (206) 370-8517. An attorney who fails to give the Court prompt notice of settlement may
     be subject to such discipline as the Court deems appropriate.
 4

 5
            DATED this 11th day March, 2019.
 6

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 8
                                                          A
                                                          The Honorable Richard A. Jones
                                                          United States District Judge
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     ORDER SETTING
     PATENT CASE SCHEDULE – 4
            Case 2:16-cv-01919-RAJ Document 56 Filed 03/11/19 Page 5 of 5



 1                                     Sample Joint Claim Chart

 2

 3   Claim Language         Plaintiff’s Proposed Construction       Defendant’s Proposed
     (Disputed Terms        and Evidence in Support                 Construction and Evidence in
 4   in Bold)                                                       Support
     ‘123 Patent
 5
     1. A method for        fence                                   fence
 6   mending fences
                            Proposed Construction:                  Proposed Construction:
 7   [or]                   A structure that keeps things out.      A structure that keeps things
                                                                    in.
 8
     fences                 Dictionary/Treatise Definitions:
 9                          Merriam-Webster Dictionary (“a          Dictionary/Treatise
     Found in claim         barrier intended to prevent . . .       Definitions:
10   numbers:               intrusion”).                            Random House Dictionary (“a
                                                                    barrier enclosing or bordering
11   ‘123 Patent: y, z      Intrinsic Evidence:                     a field, yard, etc.”).
12   ‘456 Patent: a, b      ‘123 Patent col ___:__ (“keeps stray
                            animals out” ); Prosecution History     Intrinsic Evidence:
13                          at __ (“this method is more effective   ‘123 Patent col:__ (“keeps
                            than the prior art in reinforcing the   young children from leaving
14                          fence, and therefore in keeping out     the yard “); Prosecution
                            unwanted intruders”).                   History at __ (“dilapidated
15                                                                  fences meant to pen in cattle
16                          Extrinsic Evidence:                     are particularly amenable to
                            R. Frost Depo. at xx:xx (“Good          this method”).
17                          fences make good neighbors”); ‘000
                            Patent at col __:__; Vila Decl. at      Extrinsic Evidence:
18                          ¶__.                                    C. Porter Depo. at xx:xx
                                                                    (“Don’t fence me in” ); ‘111
19                                                                  Patent at col __:__; Thomas
20                                                                  Decl. at ¶__.

21                       (or similar format that provides side-by-side comparison)

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     ORDER SETTING
     PATENT CASE SCHEDULE – 5
